            Case MDL No. 2406 Document 174 Filed 03/13/13 Page 1 of 3




                    BEFORE THE UNITED STATES JUDICIAL PANEL
                         ON MULTIDISTRICT LITIGATION


                                            )
IN RE: BLUE CROSS BLUE SHIELD               )
ANTITRUST LITIGATION                        )       MDL No.: 2406
                                            )


                        NOTICE OF POTENTIAL TAG-ALONG ACTION

       Pursuant to Rule 7.1(a) of the Rules of Procedure of the Judicial Panel on Multidistrict

Litigation (the “Panel”), Advanced Surgery Center of Bethesda, LLC; Bethesda Chevy Chase

Surgery Center, LLC; Deer Pointe Surgical Center, LLC; Hagerstown Surgery Center, LLC;

Leonardtown Surgery Center, LLC; Maple Lawn Surgery Center, LLC; Piccard Surgery Center,

LLC; Riva Road SurgCenter, LLC; SurgCenter of Bel Air, LLC; SurgCenter of Glen Burnie,

LLC; SurgCenter of Greenbelt, LLC; SurgCenter at National Harbor, LLC; SurgCenter of Silver

Spring, LLC; SurgCenter of Southern Maryland, LLC; SurgCenter of Western Maryland, LLC;

SurgCenter of White Marsh, LLC; Timonium Surgery Center, LLC; and Westminster Surgery

Center, LLC (collectively, “Plaintiffs”), by and through undersigned counsel, hereby give notice

that Advanced Surgery Center of Bethesda, LLC, et al. v. CareFirst of Maryland, Inc., (D. Md.

filed March 13, 2013), the case listed in the accompanying Schedule of Related Actions, is a tag-

along action under Rule 1.1(h) which relates to actions previously transferred to an existing

MDL, In re Blue Cross Blue Shield Antitrust Litigation, MDL 2406, which the Panel transferred

under Section 1407 to the Northern District of Alabama before the Honorable R. David Proctor.

       A copy of the complaint and docket sheet for the related action identified in the schedule

is likewise attached.
          Case MDL No. 2406 Document 174 Filed 03/13/13 Page 2 of 3




      Respectfully submitted on this the 13th day of March, 2013.

                                                   /s/ Joe R. Whatley, Jr.
                                                  Joe R. Whatley, Jr.

                                                  One of the Attorneys for Plaintiffs Advanced
                                                  Surgery Center of Bethesda, LLC; Bethesda
                                                  Chevy Chase Surgery Center, LLC; Deer
                                                  Pointe Surgical Center, LLC; Hagerstown
                                                  Surgery Center, LLC; Leonardtown Surgery
                                                  Center, LLC; Maple Lawn Surgery Center,
                                                  LLC; Piccard Surgery Center, LLC; Riva
                                                  Road SurgCenter, LLC; SurgCenter of Bel
                                                  Air, LLC; SurgCenter of Glen Burnie, LLC;
                                                  SurgCenter of Greenbelt, LLC; SurgCenter
                                                  at National Harbor, LLC; SurgCenter of
                                                  Silver Spring, LLC; SurgCenter of Southern
                                                  Maryland, LLC; SurgCenter of Western
                                                  Maryland, LLC; SurgCenter of White
                                                  Marsh, LLC; Timonium Surgery Center,
                                                  LLC; and Westminster Surgery Center, LLC
OF COUNSEL:

Joe R. Whatley, Jr.
W. Tucker Brown
WHATLEY KALLAS, LLC
2001 Park Place North
1000 Park Place Tower
Birmingham, AL 35203
Tel: (205) 488-1200
Fax: (800) 922-4851
Email: jwhatley@whatleykallas.com
       tbrown@whatleykallas.com

Edith M. Kallas
Patrick J. Sheehan
WHATLEY KALLAS, LLC
380 Madison Avenue, 23rd Floor
New York, NY 10017
Tel: (212) 447-7060
Fax: (800) 922-4851
Email: ekallas@whatleykallas.com
        psheehan@whatleykallas.com




                                             2
          Case MDL No. 2406 Document 174 Filed 03/13/13 Page 3 of 3




Deborah J. Winegard
WHATLEY KALLAS, LLC
1068 Virginia Ave, NE
Atlanta, GA 30306
Tel: (404) 607-8222
Fax: (404) 607-8451
Email: dwinegard@whatleykallas.com

Mark J. Murphy
MOONEY GREEN SAINDON
 MURPHY & WELCH, P.C.
1920 L Street NW, Suite 400
Washington, DC 20036
(202) 783-0010 tel.
(202) 783-6088 fax
Email: mmurphy@mooneygreen.com




                                      3
